                     EXHIBIT B




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MAGESHOl                      TENNESSEE DEPART'    ' OF CORRECTION                              DATE:     10/30/2''"�
                            CLASSIFICATION CUS'1-�:l ASSESSMENT FORM                            TIME:     10:06:�
                                                                                                PAGE:        1

 TOMIS ID:        00261368   PIKE, CHRISTA G.
SITE NAME:        TENNESSEE PRISON FOR WOMEN
COUNSELOR:        SIMPSON, WILLENE
 CAF DATE:         10/30/2007

 HISTORY OF INSTITUTIONAL VIOLENCE -                                                                               0
    ASSAULT. NO WEAPON, NO SERIOUS INJURY (LAST 18 MONTHS) .....                                            3
    ASSAULT. WITH WEAPON, NO SERIOUS INJURY (LAST 18 MONTHS) .. .                                           5   SCORE
    ASSAULT. WITH OR WITHOUT WEAPON WITH SERIOUS INJURY OR DEATH                                            7
     (LAST 42 MONTHS) ............. , ............................
    ASSAULT. WITH OR WITHOUT WEAPON WITH SERIOUS INJURY OR DEATH                                            5
     (43 THROUGH 60 MONTHS) ................................... .

 ASSAULT OCCUR WITHIN LAST SIX MONTHS                                                                              0
    NO .................-....................................... .                                          0
    YES ..... ,., ..... ,. , .. · · · · · • • · • · · · · · · · · · · · · • • · · · · · · · · · ·' '·''     3   SCORE

 SEVERITY OF CURRENT OFFENSE                                                                                       4
    "LOW ......... , ....., ·. · · · · · • • ·· · · · · · · ·· · · · · · · · · · · · · · · ·· ·· ·.'        0
     MODERATE ...... , ........................................... .                                        1   SCORE
     HIGH .................. , ., .. , ,.. ,, .., ·, · · · ·, · • · · • • • • • · • • · · · ·               3
     HIGHEST ........................................... , ........                                         4

 PRIOR ASSAULTIVE OFFENSE HISTORY                                                                                  4
    LOW ....................................................... .                                           0
    MODERATE .................................................. .                                           1   SCORE
    HIGH ................ , .., ... , ... ·,,, · ·,, ··,, ·, · · • • · · · · · · • · · ·                    3
    HIGHEST ................. , ..................................                                          4
 SCHEDULE A SCALE (SUM OF ITEMS 1 THROUGH 4)                                                                       8
    CLOSE            10-14.
    MAXIMUM . . . . 15 OR MORE.



 ESCAPE HISTORY                                                                                                  - 2
    NO ESCAPES OR ATTEMPTS .....................................                                          - 2
    ESCAPE OR ATTEMPT FROM MINIMUM CUSTODY, NO ACTUAL OR                                                    0   SCORE
     THREATENED VIOLENCE: OVER 1 YEAR AGO ..........., ..........
    ESCAPE OR ATTEMPT FROM MINIMUM CUSTODY, NO ACTUAL OR                                                    1
     THREATENED VIOLENCE: WITHIN THE LASP YEAR ............... ,.
    ESCAPE OR ATTEMPT FROM MED OR ABOVE CUSTODY, OR FROM MIN                                                5
     CUSTODY WITH ACTUAL OR THREATENED VIOLENCE: OVER 1 YEAR AGO
    ESCAPE OR ATTEMPT FROM MED OR ABOVE CUSTODY, OR FROM MIN                                                7
     CUSTODY WITH ACTUAL OR THREATENED VIOLENCE: WITHIN LAST YR




                                                                                                                   Pike_TDOC_002156
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MAGESHOl                  TENNESSEE DEPART'      ' OF CORRECTION                  DATE:    10/30/2.� . .,
                        CLASSIFICATION CUS'! _.,'{ ASSESSMENT FORM                TIME:    10:06:�
                                                                                  PAGE:           2
 TOMIS ID:      00261368   PIKE, CHRISTA G.
SITE NAME:      TENNESSEE PRISON FOR WOMEN
COUNSELOR:      SIMPSON, WILLENE
 CAF DATE:      10/30/2007
 DISCIPLINARY REPORTS - GUILTY                                                                            - 4
    NONE IN LAST 18 MONTHS ......... , .......................... .                        - 4
    NONE IN LAST 12 MONTHS .................................. , ..                         - 2        SCORE
    NONE IN LAST 6 MONTHS ......................................                           - 1
    NEW ADMISSION/PAROLE VIOLATOR...............................                              0
    ONE IN LAST 6 MONTHS .......................................                             1
    TWO OR MORE IN LAST 6 MONTHS .............................. .                            4

 MOST SEVERE DISCIPLINARY RECEIVED                                                                          0
    CLASS C ............................................ , .. , .. •,                        2
    CLASS B •..•.•.••..•••..•....••••••..••.•..•.••..••••.•.•.••                             5        SCORE
    CLASS A ............................................ ·. · · · .. ·                       7

 DETAINER/NOTIFICATION/CHARGE PENDING                                                                       0
    MISDEMEANOR ................................................                             3
    FELONY ....................... , ......... · · · · · · · · · · · · · · · · • · • • ·     5        SCORE·
 PRIOR FELONY CONVICTIONS                                                                                  4
    ONE ................................................ , , .......                         2
    TWO OR MORE ............................................... .                            4        SCORE
 SCHEDULE B SCALE (SUM OF ITEMS 5 THROUGH 9)                                                          -    2


CUSTODY LEVEL SCALE FOR TOTAL A + B (CAF SCORE)                                                            6
   CLOSE            17 OR MORE.
   MEDIUM .         7-16.
   MINI!JMUM        6 OR LESS.
    CAF CUSTODY LEVEL: MINIMUM




                                                                                                          Pike_TDOC_002157
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